Case 4:20-cv-05640-YGR   Document 1330-7   Filed 03/07/25   Page 1 of 2




                  EXHIBIT F
   Case 4:20-cv-05640-YGR     Document 1330-7     Filed 03/07/25   Page 2 of 2




        Documents Upheld by Special Masters and Overruled by Judge Hixson

PRIV-APL-EG_00024072
PRIV-APL-EG_00025043
PRIV-APL-EG_00025036
PRIV-APL-EG_00019675
PRIV-APL-EG_00041346
PRIV-APL-EG_00041349
PRIV-APL-EG_00041348
PRIV-APL-EG_00014884
PRIV-APL-EG_00099095
PRIV-APL-EG_00053686
PRIV-APL-EG_00053689
PRIV-APL-EG_00053703
PRIV-APLEG_00053712
PRIV-APL-EG_00053717
PRIV-APL-EG_00243495
PRIV-APL-EG_00073067
PRIV-APL-EG_00058186
PRIV-APL-EG_00242265
PRIV-APL-EG_00162710
PRIV-APL-EG_00162926
PRIV-APL-EG_00162944
PRIV-APL-EG_00163945
PRIV-APLEG_00163959
PRIV-APL-EG_00164107
PRIV-APL-EG_00152246
PRIV-APL-EG_00082600
PRIV-APL-EG_00082730
PRIV-APL-EG_00082731
PRIV-APL-EG_00078885
